Case 2:18-cv-09361-GW-PVC Document 45 Filed 01/11/21 Page 1 of 2 Page ID #:1015



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                               UNITED STATES DISTRICT COURT
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                             CENTRAL DISTRICT OF CALIFORNIA
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        JEFF BAOLIANG ZHANG,                       Case No. CV 18-9361 GW (PVC)
  11
                         Petitioner,               ORDER ACCEPTING FINDINGS,
  12
             v.                                    CONCLUSIONS AND
  13
        STU SHERMAN, Warden,                       RECOMMENDATIONS OF UNITED
  14
                         Respondent.               STATES MAGISTRATE JUDGE
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  17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the
  18   Petition,   all   the    records    and     files    herein,   the    Report    and
  19   Recommendation    of     the   United       States    Magistrate     Judge,    and
  20   Petitioner’s Objections. After having made a de novo determination
  21   of   the   portions     of   the   Report    and     Recommendation    to     which
  22   Objections were directed, the Court concurs with and accepts the
  23   findings and conclusions of the Magistrate Judge.
  24   \\
  25   \\
  26   \\
  27   \\
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Case 2:18-cv-09361-GW-PVC Document 45 Filed 01/11/21 Page 2 of 2 Page ID #:1016



   1        IT IS ORDERED that the Petition is denied and Judgment shall
   2   be entered dismissing this action with prejudice.
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   4        IT IS FURTHER ORDERED that the Clerk serve copies of this
   5   Order and the Judgment herein on Petitioner and on counsel for
   6   Respondent.
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   8        LET JUDGMENT BE ENTERED ACCORDINGLY.
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  10   DATED: January 11, 2021
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  12                                            GEORGE H. WU
                                                UNITED STATES DISTRICT JUDGE
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